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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Newport News Division

  JOANN WRIGHT HAYSBERT,

         Plaintiff,

  v.                                                           Civil Action No. 4:20-cv-121

  BLOOMIN’ BRANDS, INC., et al.,

         Defendant.

                                               ORDER

         This matter is before the Court on Plaintiff’s Motion to Withdraw as Counsel, ECF No.

  324, and Interested Party McKelvey’s Motion for Extension of Time, ECF No. 329. For the reasons

  stated below, the Court GRANTS the Motion to Withdraw and the Motion for Extension. ECF

  Nos. 324, 329.

         At the status conference on September 26, 2023, the Court addressed Plaintiff’s Motion to

  Withdraw as Counsel. In the Motion to Withdraw as Counsel, counsel McKelvey moved to

  withdraw, as Plaintiff is seeking other counsel to represent her and has verbally agreed to terminate

  the lawyer-client relationship. Mem. Supp. Mot. Withdraw Counsel at 1, ECF No. 325. Defendants

  oppose the Motion. Br. Opp’n Mot. Withdraw Counsel, ECF No. 331. The Court finds that given

  the circumstances of this case, as well as the fact that the matter has not been set for trial, good

  cause exists to GRANT the Motion to Withdraw. ECF No. 324. Counsel McKelvey and Crandall

  & Katt are deemed withdrawn as counsel in this matter. At the status conference, the Court also

  addressed Plaintiff’s stated interest of retaining new counsel. The Court granted Plaintiff fourteen

  (14) calendar days to retain new counsel. That deadline having passed, and having granted the

  Motion to Withdraw, Plaintiff Joann Wright Haysbert shall proceed pro se going forward in this
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  matter. Plaintiff Haysbert and counsel for Defendants are ORDERED to contact the Court within

  seven (7) calendar days to schedule a status conference for purposes of setting trial in this matter.

  The parties are advised that the Court anticipates setting this matter for trial no later than February

  2024.

          Also pending before the Court is Defendants’ Motion for Sanctions. ECF No. 326. Both

  Mr. McKelvey and Nazareth Monoah Haysbert remain interested parties pending resolution of the

  Motion for Sanctions. Counsel for Mr. Haysbert noted her appearance yesterday, October 10,

  2023. ECF No. 332. Counsel for Mr. McKelvey has moved for an extension of time to respond

  to Defendants’ Motion for Sanctions. Mot. Extension Time at 1–2, ECF No. 329. Counsel for

  Mr. McKelvey explains that he requires additional time to review the extensive history of the

  case, including the 1,017-page trial transcript. Id. For good cause shown, and given the recent

  addition of counsel for Mr. Haysbert, the Court GRANTS the Motion and extends the deadline for

  response to the Motion for Sanctions for both Mr. McKelvey and Mr. Haysbert to December 4,

  2023. Further motions for extension will be disfavored.

          Counsel McKelvey is INSTRUCTED to provide Plaintiff Haysbert a copy of this Order

  within three (3) calendar days. Counsel McKelvey is also INSTRUCTED to provide the Clerk

  with the appropriate contact information for Plaintiff Haysbert to note in the Court’s online filing

  system within three (3) calendar days of this Order. The Clerk is directed to send a copy of this

  Order to all counsel of record and to mail a copy of this Order to pro se Plaintiff Haysbert at her

  address of record once it is provided by Counsel McKelvey.

          It is SO ORDERED.


                                                                                   /s/
                                                                 Elizabeth W. Hanes
  Date: October 12, 2023                                         United States District Judge
